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                                      United States District Court
                                       Southern District of Ohio
                                  Eastern Division at Columbus, Ohio

United States of America

-vs-                                                                Case No. 2:23-cr-58

Benjamin Ruckel


                                    COURTROOM MINUTES
                              Arraignment on Superseding Information

 U.S. District Judge Sarah D. Morrison                    Date: 4/26/2023 at 11:00 a.m.
 Deputy Clerk                                             Counsel for Govt:        Brian Martinez

 Court Reporter        Allison Kimmel                     Counsel for Deft(s):    Mark Collins
 Interpreter                                              Pretrial/Probation:
 Log In                                                   Log Out

Defendant filed a Waiver of Indictment.
Defendant pleaded Guilty to Count 1 of the Information.
The Court accepted Defendant’s Waiver of Indictment and plea of Guilty.
The Court ordered a PSI.
Defendant to remain on bond pending sentencing.
